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 8
                          UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
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11
   JONATHAN CARMEL, individually and             Case No. 2:18-cv-02483-JAK-E
12 on behalf of all others similarly situated,
                                                 PROOF OF SERVICE
13                     Plaintiff,
14               v.
15 MIZUHO BANK, LTD. and MARK
   KARPELES,
16
                Defendants.
17
18
19        I, J. Aaron Lawson, declare as follows:
20        On March 19, 2019, I served copies of the Complaint (dkt. 1), Summons (dkt.
21 8), Standing Order for Judge Kronstadt (dkt. 9), and minutes regarding the hearing
22 on Plaintiff’s Ex Parte Application to Approve Alternative Service on Defendant
23 Mark Karpeles (dkt. 48) on Defendant Mark Karpeles by causing true and accurate
24 copies of such papers to be hand delivered to Bevin Brennan, Pedersen & Houpt,
25 161 North Clark Street Suite 2700, Chicago, Illinois 60601.
26        I declare under penalty of perjury that the above and foregoing is true and
27 correct.
28                                                                                      :




     PROOF OF SERVICE                                     CASE NO. 2:18-CV-02483-JAK-E
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 1        Executed March 20, 2019 in San Francisco, California
 2                                      By: /s/ J. Aaron Lawson
 3                                      One of Plaintiff’s Attorneys
 4
                                        J. Aaron Lawson
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     PROOF OF SERVICE                                    Case No. 2:18-cv-02483-JAK-E
